Case 3:10-cv-03561-WHA Document 509-11 Filed 10/07/11 Page 1 of 3




                   EXHIBIT 1-11
     Case 3:10-cv-03561-WHA Document 509-11 Filed 10/07/11 Page 2 of 3
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 1                    UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3                       SAN FRANCISCO DIVISION
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 6   ORACLE AMERICA, INC.,                        )
 7                         Plaintiff, )
 8              vs.                               )       No. CV 10-03561
 9   GOOGLE, INC.,                                )
10                         Defendant. )
11   --------------------------
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13         HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
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17         Videotaped Deposition of Jeet Kaul, taken at
18   755 Page Mill Road, Palo Alto, California,
19   commencing at 9:28 a.m., Friday, August 5, 2011,
20   before Ashley Soevyn, CSR 12019.
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25   PAGES 1 - 243
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                                    EXHIBIT 1-11
           Case 3:10-cv-03561-WHA Document 509-11 Filed 10/07/11 Page 3 of 3
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 1      Q. -- the Sun IP?                                                  1   rest of the day. And if anything comes to mind, let
 2      A. You know, I do not know of direct facts of                      2   me know, but we can -- we can move on.
 3   whether that stuff was communicated to Google or                      3      A. Yeah.
 4   not.                                                                  4      Q. We don't have to just --
 5      Q. Regardless of what was communicated to                          5      A. Right.
 6   Google, are you aware of any facts that demonstrate                   6      Q. -- have you, you know, sit on the record        12:00:59
 7   that Google knew it was infringing Sun's Java IP?       11:58:29      7   thinking.
 8      A. You know, my fundamental perception is that                     8         Prior to Oracle acquiring Sun, do you know
 9   Google was an active participant of JCP. Many of                      9   whether anyone from Sun ever told anyone at Google
10   Google employees were ex-Sun employees. All of them                  10   that Sun believed Google was infringing Sun's
11   knew how we did licensing, what the core of it was,                  11   intellectual property with Android?
12   how we built the platform, what files were involved.                 12         MS. RUTHERFORD: Objection to form.
13   And so I jumped to conclusion that they knew that    11:58:55        13         THE WITNESS: So I categorically do not          12:01:36
14   this is happening, that this is the core business,                   14   know that, but I was aware that -- I was made aware
15   so that's how I kind of jump to the conclusion, you                  15   that there was some conversation like that that had
16   know. I knew many of these former Sun employees,                     16   happened.
17   so --                                                                17   BY MR. PURCELL:
18      Q. Do you know whether any of the former Sun                      18      Q. When you were made aware of some
19   employees that you're referring to, who went to                      19   conversation like that that had happened, what
20   Google, worked on the Android project?                               20   conversation were you made aware of?
21      A. At least one.                                                  21      A. I don't know this for a fact. So I just    12:02:01
22      Q. Who is that?                                                   22   want to make sure you know that. I -- I don't
23      A. It's Eric Chu.                                                 23   remember who mentioned it to me, but I was told that
24      Q. Do you know what Mr. Chu did on the Android                    24   there are people who had some conversation raised to
25   project, once he went to Google?                                     25   people at Google.
                                                                     98                                                                   100

 1      A. I was told that he was responsible for the 11:59:30             1      Q. Do you recall roughly what timeframe this
 2   open handset lines, formation of.                                     2   conversation between Sun and Google took place?
 3      Q. Do you know whether Mr. Chu did any work in                     3      A. I don't remember right now, I'm sorry.
 4   developing the Android platform after he went to                      4      Q. And you don't know who the participants         12:02:30
 5   Google?                                                               5   were for Sun or for Google in this conversation?
 6      A. I don't know. And that's not my                                 6      A. Absolutely, I, unfortunately, do not
 7   perception, but I don't know.                    11:59:59             7   know.
 8      Q. Have you told me every fact that you're                         8      Q. During this conversation -- strike that.
 9   aware of that contributed to your belief that Google                  9         Is this one conversation that you were
10   knew it was infringing Sun's Java IP?                                10   informed about the only conversation you're aware of
11         MS. RUTHERFORD: What he means is facts                         11   that took place between Sun and Google, prior to the
12   that you didn't learn from counsel.                                  12   Oracle acquisition, regarding whether Android was
13         THE WITNESS: Oh.                                               13   infringing Sun intellectual property?             12:02:58
14         MR. PURCELL: No, if he learned a fact from                     14      A. This was the only conversation that I'm
15   counsel, he can testify to that. He can't testify                    15   aware of, you know, other than, you know, the one
16   to what counsel told him.                                            16   meeting that I had personally, yes.
17         THE WITNESS: So, you know, there are               12:00:30    17      Q. Well, let's hold off on the one meeting.
18   things that I'm kind of not right now jump in my                     18   We'll get back to that.
19   mind. Maybe, you know, if over time today they come                  19         During this conversation that you were
20   to mind, I can share, but right now --                               20   informed of, do you know whether anyone from Sun
21   BY MR. PURCELL:                                                      21   identified any specific patents to Google that they
22      Q. Right now, nothing comes to mind?                              22   claim were being infringed by Android?              12:03:23
23      A. No, no. I can spend some time thinking, if                     23      A. Okay. It's, again, kind of hard. No, I
24   you would like me to, but --                                         24   don't know if they list it, but, you know, my
25      Q. Well, it's fine to think throughout the                        25   perception was that they probably, you know, talked
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